                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL, et al.,

                             Plaintiffs,

                        v.                             Case No. 1:19-cv-00272-LCB-LPA

 DALE FOLWELL, in his official capacity as
 State Treasurer of North Carolina, et al.,

                             Defendants.


                              LOCAL RULE 5.5 REPORT

[ X ] Conference: The parties have discussed the issues of confidentiality raised in this

case and the potential need for filing documents under seal. That discussion included the

nature of any confidential documents that may be involved in the case, the possibility of

using stipulations to avoid the need to file certain documents, and the possibility of

agreed-upon redactions of immaterial confidential information in filings to avoid the need

for filing documents under seal.


[__] Non-Parties: Because a non-party has produced documents pursuant to a protective

order or is otherwise claiming confidentiality over documents filed or expected to be filed

in this case, the conference included ___________________________ (identify non-

party).




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[ X ] Default: The parties certify that few, if any, documents will be filed under seal. The

parties agree to use the default procedures of LR 5.4(c). In addition, if the party filing the

motion to seal is not the party claiming confidentiality, the filing party must meet and

confer with the party claiming confidentiality as soon as practicable, but at least two (2)

days before filing the documents, to discuss narrowing the claim of confidentiality. The

motion to seal must certify that the required conference has occurred, and the party

claiming confidentiality must file supporting materials required by LR 5.4(c)(3) within 14

days of the motion to seal.


[__] Alternative Proposal for Cases with Many Confidential Documents.


In order to address claims of confidentiality and reduce the need to file briefs and exhibits

under seal, the parties propose the alternative procedure set out in the attached proposal,

either jointly or as competing alternatives, for consideration by the Court.


[ ] Other relevant information: _______________________________




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* Appearing by special appearance pursuant to L.R. 83.1(d).

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                            CERTIFICATE OF SERVICE
       I certify that the foregoing document was filed electronically with the Clerk of the

Court using the CM/ECF system which will send notification of such filing to all

registered users.

Dated: December 10, 2021                             /s/ Amy E. Richardson
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